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     Attorney at Law
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     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   THEARITH PRAK
 6
 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,        )             Case No. 1: 06 CR 00313 LJO
10                                    )
            Plaintiff,                )              AMENDED
11                                    )              STIPULATION TO CONTINUE
                 v.                   )              SENTENCING HEARING
12                                    )              AND ORDER THEREON
     THEARITH PRAK and                )
13   SAVATH PRAK,                     )
                                      )
14          Defendants.               )
     _________________________________)
15
16          Defendants, THEARITH PRAK and SAVATH PRAK, through their counsel, John F.
17   Garland and Joan Jacobs Levie, and the United States of America, through its counsel, McGregor
18   W. Scott, United States Attorney and Laurel J. Montoya, Assistant United States Attorney,
19   hereby stipulate to continue the defendant’s sentencing hearing from December 12, 2008 to
20   February 27, 2009 at 8:30 a.m. This continuance is necessary to allow the defendants sufficient
21   time to complete their obligations set forth in their respective plea agreements.
22          The parties further stipulate that any delay resulting from this continuance shall be
23   excluded on the following basis:
24          a. Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice served by
               taking such action outweighs the best interest of the public and the defendant in a
25             speedy trial.
26
     Dated: December 8, 2008                                     /s/ John F. Garland
27                                                                 John F. Garland
                                                               Attorney for Defendant
28                                                              THEARITH PRAK


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 2
     Dated: December 8, 2008                                 /s/ Joan Jacobs Levie
 3                                                             Joan Jacobs Levie
                                                             Attorney for Defendant
 4                                                             SAVATH PRAK
 5
 6   Dated: December 8, 2008                                  McGregor W. Scott
                                                             United States Attorney
 7
 8                                                         /s/ Laurel J. Montoya
                                                       By: LAUREL J. MONTOYA
 9                                                          Assistant U.S. Attorney
10
11
                                          ORDER
12
13            GOOD CAUSE APPEARING, based on the stipulation of the parties,
14   IT IS HEREBY ORDERED that the sentencing hearing for defendants THEARITH PRAK and
15   SAVATH PRAK is continued to February 27, 2009 at 8:30 a.m.
16   IT IS SO ORDERED.
17   Dated:      December 9, 2008                 /s/ Lawrence J. O'Neill
     b9ed48                                   UNITED STATES DISTRICT JUDGE
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